4:13-cr-03130-JMG-CRZ    Doc # 540    Filed: 10/28/16   Page 1 of 2 - Page ID # 2296




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                             4:13-CR-3130

vs.
                                                            ORDER
RAMON GARCIA,

                  Defendant.

       The defendant has moved for a sentence reduction (filing 446) pursuant
to 18 U.S.C. § 3582(c)(2), U.S.S.G. § 1B1.10, and U.S.S.G. § app. C, amend.
782. The Court will deny the defendant's motion.
       The Court sentenced the defendant to 292 months' imprisonment, filing
177 at 2, which was at the bottom of the Sentencing Guidelines range, filing
178 at 1. Drug quantity had been contested at sentencing. See filing 208. The
Court found that the defendant was responsible for 20.412 kilograms of a
mixture containing methamphetamine, or 17.45 kilograms of actual
methamphetamine, resulting in a base offense level of 38 under the
Sentencing Guidelines in effect at the time. Filing 208 at 209-12. That
combined with a 3-level enhancement for the defendant's role in the
conspiracy, a 2-level enhancement for maintaining a stash house, and a 3-
level reduction for acceptance of responsibility, for a total offense level of 40.
Filing 174 at 10; filing 178 at 1, filing 208 at 212-16.
       Amendment 782 had the effect of changing the base offense level in the
drug quantity table in U.S.S.G. § 2D1.1(c). Generally, it implemented a 2-
level reduction in the offense level assigned to each drug quantity. And
Amendment 782 was made retroactive pursuant to § 1B1.10(d), meaning that
many defendants have been eligible for sentencing reductions based on the
amended Guidelines.
       But not every defendant is eligible. Pursuant to § 1B1.10(b)(1), in
determining whether a defendant's sentence should be reduced, the first step
is for the Court to "determine the amended guideline range that would have
been applicable to the defendant if the amendment(s) to the guidelines . . .
had been in effect at the time the defendant was sentenced." And in this case,
the defendant's guideline range would be the same.
       At the time of the defendant's sentencing, a base offense level of 38
could be triggered by 15 kilograms or more of methamphetamine, or 1.5
4:13-cr-03130-JMG-CRZ        Doc # 540     Filed: 10/28/16    Page 2 of 2 - Page ID # 2297




kilograms or more of methamphetamine (actual). See § 2D1.1(c)(1) (2013).
Under the amended guideline, a base offense level of 38 is triggered by 45
kilograms or more of methamphetamine, or 4.5 kilograms or more of
methamphetamine (actual). And at sentencing, as set forth above, the Court
determined that the defendant was responsible for 17.45 kilograms of
methamphetamine (actual). That is still more than sufficient to trigger a base
offense level of 38.1
      Because the defendant's amended guideline range is unaffected by
Amendment 782, he is not eligible for a reduction under § 3582(c)(2) and §
1B1.10. His motion for a sentence reduction will be denied.

       IT IS ORDERED:

       1.     The defendant's motion for a sentence reduction (filing 446)
              is denied.

       2.     The Clerk of the Court shall provide a copy of this order to
              the defendant at his last known address.

       Dated this 28th day of October, 2016.

                                                  BY THE COURT:



                                                  John M. Gerrard
                                                  United States District Judge




1 The Court recognizes that the retroactive sentencing worksheet (filing 468) prepared by

the probation office reflects a reduction from 38 to 36. That calculation, however, was based
on the drug quantity from the presentence report, not the Court's findings regarding drug
quantity based on the evidence presented at an extensive sentencing hearing. Compare
filing 468 with filing 174 at 8.


                                            -2-
